Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 1 of 16 PageID 1




                                            6:15cv2148-orl-31KRS
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 2 of 16 PageID 2
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 3 of 16 PageID 3
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 4 of 16 PageID 4
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 5 of 16 PageID 5
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 6 of 16 PageID 6
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 7 of 16 PageID 7
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 8 of 16 PageID 8
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 9 of 16 PageID 9
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 10 of 16 PageID 10
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 11 of 16 PageID 11
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 12 of 16 PageID 12
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 13 of 16 PageID 13
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 14 of 16 PageID 14
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 15 of 16 PageID 15
Case 6:15-cv-02148-GAP-TBS Document 1 Filed 12/21/15 Page 16 of 16 PageID 16
